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 5
     Attorney for Defendant,
 6   JASON CAVILEER

 7
                                THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 10-CR-0347 MCE

11              Plaintiff,                              WAIVER OF PERSONAL APPEARANCE
                                                        ORDER
12        vs.

13   JASON CAVILEER,

14              Defendant.

15

16          I, Jason Cavileer, hereby waive the right to be present in person in open court upon the

17   hearing of any motion or other proceeding in this cause, including, but not limited to, when the

18   case is ordered set for trial, when a continuance is ordered, and when any other action is taken by

19   the court before or after hearing, except upon arraignment, plea, inpanelment of jury, trial, and

20   imposition of sentence. I request that the court proceed during every absence the court may

21   permit pursuant to this waiver. I agree that my interests will be deemed represented at all times

22   by the presence of my attorney, the same as if I were personally present, and I further agree to be

23   present in court ready for hearing any day and hour the court may fix in my absence.

24          //

25          //
                                                 -1-
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 1                          I have been informed of my rights under the Speedy Trial Act, 18 U.S.C. §§ 3161-3174,

 2   and I authorize my attorney to set times and delays under the Act without me being present.

 3

 4   DATED: August 9, 2012

 5                                                       /s/ Jason Cavileer (Original retained by attorney)
                                                         __________________________________
 6                                                       JASON CAVILEER
                                                         Defendant
 7
                            I concur in Mr. Cavileer’s decision to waive his appearance at preliminary proceedings.
 8

 9
                                                         Respectfully submitted,
10
     DATED: August 9, 2012
11
                                                         /s/ Dan Koukol
12                                                       __________________________________
                                                         DAN KOUKOL
13                                                       Attorney for Defendant,
                                                         JASON CAVILEER
14

15

16

17                                                              ORDER

18                          IT IS SO ORDERED.

19
                 Dated: September 5, 2012
20
                                                      __________________________________
21                                                    MORRISON C. ENGLAND, JR
     DEAC_Signat ure-END:
                                                      UNITED STATES DISTRICT JUDGE
22
     c4d6b0d3
23

24

25
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